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-vs- Case N0.1-05Cr10007-001T

ER[C ELMO PETERSON

 

ORDER OF TEMPORARY DETENTION
PENDING HEARING1 PURSUANT TO
BAIL REFORM ACT

Upon motion ot` the Government, it is ORDERED that a detention hearing is set for
FRIDAY, JUNE 24, 2005 at 10:00 A.M. before United States Magistrate Judge S. Thomas
Anderson in Courtroom No. 407, Fourth Floor, United States Courthouse and Federal Building,
l l l South Highland, Jaokson, TN . Pending this hearing, the defendant shall be held in custody by
the United States l\/larshal and produced for the hearing

Date; June 22, 2005 § %M /~ _)

S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

 

'lfnot held immediately upon defendants first appearance, the hearing may be continued for up to three days upon
motion of the government, or up to five days upon motion ofthe defendant lS U.S.C. § 3]42(1‘)(2).

A hearing is required whenever the conditions set forth in lS U.S.C. § 3142(1‘] are present Subsection (l) sets forth
the grounds that may be asserted only by the attorney for the govemment; subsection (2) states that a hearing is mandated
upon the motion ofthe attorney for the government or upon thc_]'udicia[ officer's own motion, ifthere is a serious risk that the
defendant (a) will i`|ee or (b) will obstruct or attempt to obstruct justice, or threaten, inj ure, or intimidate or attempt to threaten,
injure, or intimidate a prospective Witness or juror.

AO 470 (8/85] Order of Temporary De!entinn

This document entered on the docket sheet In compliance
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Notice of Distribution

This notice confirms a copy of the document docketed as number 6 in
case 1:05-CR-10007 Was distributed by faX, mail, or direct printing on
June 24, 2005 to the parties listed.

 

 

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Honorable J ames Todd
US DISTRICT COURT

